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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION


UNITED STATES OF AMERICA,              )
                                       )
                      Plaintiff,       )
                                       )   Case No. 4:07CR0439 CEJ
v.                                     )
                                       )
MICHAEL ANTHONY JONES,                 )
                                       )
                      Defendant.       )



                         ENTRY OF APPEARANCE

     Assistant Federal Public Defender Michelle L. Monahan enters her

appearance as appointed counsel of record for the Defendant Michael

Anthony Jones replacing all counsel who have previously appeared on behalf

of the Defendant.



                                    Respectfully submitted,


                                    /s/Michelle L. Monahan
                                    MICHELLE L. MONAHAN        42736 MO
                                    Assistant Federal Public Defender
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                                    St. Louis, Missouri 63101
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                                    ATTORNEY FOR DEFENDANT
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                         CERTIFICATE OF SERVICE


I hereby certify that on 04/23/2020, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which will send notification
of such filing to the Office of the United States Attorney.




                                    /s/ Michelle L. Monahan
                                    MICHELLE L. MONAHAN        42736 MO
